CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 1 of 33




         EXHIBIT 1
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 2 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 3 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 4 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 5 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 6 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 7 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 8 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 9 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 10 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 11 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 12 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 13 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 14 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 15 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 16 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 17 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 18 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 19 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 20 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 21 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 22 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 23 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 24 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 25 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 26 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 27 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 28 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 29 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 30 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 31 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 32 of 33
CASE 0:23-cv-01759-JRT-DJF   Doc. 1-1   Filed 06/12/23   Page 33 of 33
